James M. Barrett, OSB No. 011991
james.barrett@ogletree.com
Paul E. Cirner, OSB No. 191471
paul.cirner@ogletree.com
OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
The KOIN Center
222 SW Columbia Street, Suite 1500
Portland, OR 97201
Telephone: (503) 552 2140
Facsimile: (503) 224-4518
   Attorneys for Defendants
NATIONAL FROZEN FOODS CORPORATION
FRANK TIEGS, and BERNADETTE KINTZ



                             UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

                                      EUGENE DIVISION

PERLA A. TORRES,                                  Case No.: 6:20-cv-01680-MC

               Plaintiff,                         STIPULATED DISMISSAL OF CLAIMS
                                                  WITH PREJUDICE
       v.

NATIONAL FROZEN FOODS
CORPORATION, et al.,

               Defendants.




       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the parties hereby stipulate to a dismissal of

this action in its entirety WITH PREJUDICE and without an award of fees or costs to any party.




1 – STIPULATED DISMISSAL OF CLAIMS           OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
WITH PREJUDICE                                                                        The KOIN Center
                                                222 SW Columbia Street, Suite 1500 | Portland, OR 97201
                                                            Phone: 503-552-2140 | Fax: 503-224-4518
          SO STIPULATED this 2nd day of July, 2021:


WILLIAMS WEYAND LAW, LLC                           OGLETREE, DEAKINS, NASH, SMOAK &
                                                   STEWART, P.C.

By: s/Simonne MG Weyand1              By: s/James M. Barrett
    Simonne MG Weyand, OSB No. 044936     James M. Barrett, OSB No. 011991
    simonne@williamsweyandlaw.com         james.barrett@ogletreedeakins.com
        Attorneys for Plaintiff PERLA     Paul E. Cirner, OSB NO. 191471
        TORRES                                Attorneys for Defendants NATIONAL
                                              FROZEN FOODS CORPORATION,
                                              FRANK TIEGS, and BERNADETTE
                                              KINTZ

DAVID L. KRAMER, P.C.

By: s/David L. Kramer2
    David L. Kramer, OSB No. 802904
    david@kramerlaw.us
       Attorneys for Plaintiff PERLA
       TORRES




1   Permission to file with electronic signature received by email on July 2, 2021.
2   Permission to file with electronic signature received by email on July 2, 2021.

2 - STIPULATED DISMISSAL OF CLAIMS             OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
WITH PREJUDICE                                                                          The KOIN Center
                                                  222 SW Columbia Street, Suite 1500 | Portland, OR 97201
                                                              Phone: 503-552-2140 | Fax: 503-224-4518
                               CERTIFICATE OF SERVICE

      I hereby certify that on July 2, 2021, I served the foregoing STIPULATED DISMISSAL

WITH PREJUDICE on:

       Simonne MG Weyand                          David L. Kramer
       simonne@williamsweyandlaw.com              david@kramerlaw.us
       WILLIAMS WEYAND LAW, LLC                   DAVID L. KRAMER, P.C.
       P.O. Box 3698                              3265 Liberty Road S.
       Salem, OR 97302                            Salem, OR 97302
       Tel: (503) 212-0050                        Tel: (503) 212-0050
       Fax: (503) 391-4269                        Fax: (503) 391-4269
          Of Attorneys for Plaintiff                 Of Attorneys for Plaintiff

       Ryan S. Gibson
       ryan@rsgibsonlaw.com
       RYAN S. GIBSON LAW LLC
       1050 SW 6th Ave., Suite 1100
       Portland, OR 97204
       Tel: (503) 477-7789
         Of Attorneys for Defendant Larry
         Hargreaves

       by electronic means through the Court’s Case Management/Electronic Case File
        system, which will send automatic notification of filing to each person listed above.

       by mailing a true and correct copy to the last known address of each person listed
        above. It was contained in a sealed envelope, with postage paid, addressed as stated
        above, and deposited with the U.S. Postal Service in Portland, Oregon.

       by causing a true and correct copy to be hand-delivered to the last known address of
        each person listed above. It was contained in a sealed envelope and addressed as stated
        above.

       by e-mailing a true and correct copy to the last known email address of each person
        listed above per Email Service Agreement.

        Dated: July 2, 2021.

                                            OGLETREE, DEAKINS, NASH, SMOAK &
                                            STEWART, P.C.
                                            By: s/James M. Barrett
                                                  James M. Barrett
                                                  503-552-2140
                                                  james.barrett@ogletreedeakins.com
                                                                                           47599180.1
1 – CERTIFICATE OF SERVICE                 OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
                                                                                    The KOIN Center
                                              222 SW Columbia Street, Suite 1500 | Portland, OR 97201
                                                          Phone: 503-552-2140 | Fax: 503-224-4518
